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                                   UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 6
      UNITED STATES OF AMERICA,
 7
                     Plaintiff,                                    Case No. CR02-5823RJB
 8
             v.
 9                                                                 ORDER STAYING RESENTENCING
      JOSE ANGEL MADRIGAL REYNOSO,
10
                     Defendant.
11

12          This matter comes before the court on remand from the Ninth Circuit for resentencing and on

13   the stipulated oral motion of the parties to stay resentencing. The court conducted a conference call

14   on 28 December 2005 with Matthew Thomas for the plaintiff and Mark Muenster for the defendant.

15   Counsel explained that resentencing might delay the defendant’s release date and deportation, and

16   that both parties desired that the resentencing set for 20 January 2006 be indefinitely delayed. The

17   court is in agreement and now therefore it is

18          ORDERED that resentencing in this matter is hereby stayed indefinitely. Resentencing may

19   be renoted by either party at any time. Pending renoting, the matter will be administratively closed,

20   subject to being reopened if and when either party files an appropriate note for resentencing.

21          The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of

22   record and to any party appearing pro se at said party’s last known address.

23          DATED this 28th day of December, 2005.

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25
                                                     A
                                                     Robert J. Bryan
                                                     United States District Judge
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     ORDER STAYING RESENTENCING - 1
